    Case 1:09-md-02084-TWT Document 1863 Filed 11/15/19 Page 1 of 5




            IN THE UNITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION


IN RE ANDROGEL ANTITRUST               MASTER DOCKET NO.
LITIGATION (II)                        1:09-MD-2084-TWT

ROCHESTER DRUG CO-OPERATIVE,
INC., ET AL.,
             PLAINTIFF,
                      V.
UNIMED PHARMACEUTICALS,                CASE NO. 1:09-CV-956-TWT
LLC, ET AL.,
             DEFENDANTS.

LOUISIANA WHOLESALE DRUG
CO., INC., ET AL.,
             PLAINTIFF,
                      V.               CASE NO. 1:09-CV-957-TWT
UNIMED PHARMACEUTICALS,
LLC, ET AL.,
             DEFENDANTS.

MEIJER, INC., ET AL.,
            PLAINTIFFS,
                      V.
UNIMED PHARMACEUTICALS,                CASE NO. 1:09-CV-958-TWT
LLC, ET AL.,
            DEFENDANTS.


  PLAINTIFFS’ MOTION IN LIMINE TO LIMIT LIVE TESTIMONY OF
 DEFENSE WITNESSES UNAVAILABLE TO TESTIFY IN PLAINTIFFS’
 CASE-IN-CHIEF AND TO PRECLUDE DEFENDANTS FROM PLAYING
     DEPOSITION CLIPS DURING PLAINTIFFS’ CASE-IN-CHIEF
    Case 1:09-md-02084-TWT Document 1863 Filed 11/15/19 Page 2 of 5




RITE AID CORPORATION, ET AL.,
           Plaintiffs,
            v.                CASE NO. 1:09-CV-2776-TWT
UNIMED PHARMACEUTICALS, LLC,
ET AL.,
           Defendants.

WALGREEN CO., ET AL.,
         Plaintiffs,
           v.                CASE NO. 1:09-CV-3019-TWT
UNIMED PHARMACEUTICALS, LLC,
ET AL.,
         Defendants.

SUPERVALU, INC.,
         Plaintiff,
           v.                CASE NO. 1:10-CV-1024-TWT
UNIMED PHARMACEUTICALS, LLC,
ET AL.,
         Defendants.
      Case 1:09-md-02084-TWT Document 1863 Filed 11/15/19 Page 3 of 5




      Pursuant to the Court’s Pretrial Schedule (ECF No. 1830) at 2, Plaintiffs

Rochester Drug Co-Operative, Inc., Louisiana Wholesale Drug Co., Inc., Meijer,

Inc., Meijer Distribution, Inc., Walgreen Co., Safeway Inc., American Sales

Company, Inc., HEB Grocery Company LP, Rite Aid Corporation, Rite Aid

Hdqtrs. Corp., and JCG (PJC) USA, LLC, Maxi Drug, d/b/a Brooks Pharmacy,

Eckerd Corporation, CVS Pharmacy, Inc., Caremark, L.L.C., and Supervalu Inc.

respectfully move for an order to limit live testimony of Defense witnesses

unavailable to testify in Plaintiffs’ case-in-chief and to preclude Defendants from

playing deposition clips during Plaintiffs’ case-in-chief for the reasons stated in the

accompanying Memorandum of Law.


Date: November 15, 2019                  Respectfully submitted,

                                         /s/ Chris Letter __
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      Case 1:09-md-02084-TWT Document 1863 Filed 11/15/19 Page 4 of 5




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      Case 1:09-md-02084-TWT Document 1863 Filed 11/15/19 Page 5 of 5




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                         CERTIFICATE OF SERVICE

             I hereby certify that on November 15, 2019 a true and accurate copy

of the foregoing was filed electronically via CM/ECF in the United States District

Court for the Northern District of Georgia, with notice of the same being

electronically served by the Court to all counsel of record.

Date: November 15, 2019                              /s/ Chris Letter


                                          3
